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                         UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DIST ICT OF TEXAS


     CRAIG CUNNINGHAM,                                §
     Plaintiff,                                       §
                                                      §
     v.                                               §
                                                      § Civil Case No. 4:18-cv-00747-ALM-
     Jeff Lakes, Ramsey Debt Relief, LLC, aka         CAN
     Ramsey Services, LLC, National                   §
     Consolidated Services, LLC, Chandler             §
     Construction, LLC, Cori L. Marx                  §
                                                      §
     Defendant




                                   Plaintiffs Amended Complaint


                                                 Parties

     1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

          calls in this case in Collin County.

     2. Jeff Lakes is CEO and corporate officer for all of the entities named by the Plaintiff in

          this case. He can be served at 3922 E University Dr., Ste 6 Phoenix, AZ 85034 or

          5105 W Winston Dr., Laveen, AZ 85339.

     3. Ramsey Services, LLC is a Wyoming Corporation operating out of Nevada with a

          registered agent of Registered Agents, Inc., 401 Ryland St., Ste 200-A, Reno, NV

          89502.

     4. National Consolidated Services, LLC is a Wyoming Corporation operating out of

          Nevada with a registered agent of Registered Agents, Inc., 401 Ryland St., Ste 200-A,

          Reno, NV 89502.

     5. Chandler Construction, LLC is a Wyoming Corporation operating out of Nevada with
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        a registered agent of Registered Agents, Inc., 401 Ryland St., Ste 200-A, Reno, NY

        89502.

     6. Cori L. Marx is a Colorado Attorney who can be served at 9101 Harlan Street, ste

        255, Westminster, CO 80031 or 3009 Irving St., Denver, CO 80211 or 5714 Kipling

        Parkway, unit 207 Arvada CO 80002

     7. John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.

                                   JURISDICTION AND VENUE

     8. Jurisdiction. This Court has federal-question subject matter jurisdiction over

        Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

        statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

        supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

        Business and Commerce Code 305.053 because that claim: arises from the same

        nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

        little complexity to the case; and doesn’t seek money damages, so it is unlikely to

        predominate over the TCPA claims.

     9. Personal Jurisdiction. This Court has general personal jurisdiction over the

        defendant because they have repeatedly placed calls to Texas residents, and derive

        revenue from Texas residents, and the sell goods and services to Texas residents,

        including the Plaintiff.

     10. This Court has specific personal jurisdiction over the defendants because the calls at

        issue were sent by or on behalf of Jeff Lakes, Ramsey Services, LLC, National

        Consolidated Services, LLC, and Chandler Construction, LLC to Texas Residents,

        specifically the Plaintiff in this case. Even after calling Jeff Lakes personally to
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        inform him of the illegal telemarketing calls on October 2nd, 2018 and sending a copy

        of the proposed agreement with the Plaintiffs name and Ramsey Debt Relief, the

        Plaintiff recieved an additional 3 calls two days later on October 5, 2018. Despite

        having sued, served, and the defendants obtaining counsel in this case, the Plaintiff

        was called yet again on November 21, 2018 and connected to a company owned or

        controlled by Jeff Lakes for the purposes of debt reduction services. The Plaintiff has

        executed a supporting affidavit attesting that he was in Texas when he received the

        calls.




     11. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

        because a substantial part of the events giving rise to the claims the calls and sale of

        goods and services directed at Texas residents, including the Plaintiff occurred in

        this District and because the Plaintiff resides in this District. The Plaintiff was

        residing in the Eastern District of Texas when he recieved a substantial if not every

        single call from the Defendants that are the subject matter of this lawsuit.

     12. This Court has venue over the defendants because the calls at issue were sent by or on

        behalf of Jeff Lakes, Ramsey Services, LLC, National Consolidated Services, LLC,

        and Chandler Construction, LLC to Texas Residents, specifically the Plaintiff in this

        case. Even after calling Jeff Lakes personally to inform him of the illegal

        telemarketing calls on October 2nd, 2018 and sending a copy of the proposed

        agreement with the Plaintiffs name and Ramsey Debt Relief, the Plaintiff recieved an

        additional 3 calls two days later on October 3rd, 4th, and 5th, 2018. Despite having

        sued, served, and the defendants obtaining counsel in this case, the Plaintiff was
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        called yet again on November 21, 2018 and connected to a company owned or

        controlled by Jeff Lakes for the purposes of debt reduction services. Clearly, the

        defendants knew that calling 615-331-7262 would reach the Plaintiff s cell phone and

        that the Plaintiff was residing in Plano, Texas and that the calls were unwanted and

        yet they still continued to direct calls to the Plaintiffs cell phone while residing in

        Texas.


        THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

        227

     13. In 1991, Congress enacted the TCPA in response to a growing number of consumer

        complaints regarding telemarketing.

     14. The TCPA makes it unlawful to make any call (other than a call made for emergency

        purposes or made with the prior express consent of the called party) using an

        automatic telephone dialing system or an artificial or prerecorded voice ... to any

        telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

        227(b)(l)(A)(iii).
     15. The TCPA makes it unlawful to initiate any telephone call to any residential

        telephone line using an artificial or prerecorded voice to deliver a message without

        the prior express consent of the called party, unless the call is initiated for emergency

        purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

        the United States, or is exempted by rule or order” of the Federal Communication

        Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).

     16. The TCPA provides a private cause of action to persons who receive calls in violation

        of § 227(b). 47 U.S.C. § 227(b)(3).
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     17. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

        available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

     18. The TCPA provides a private cause of action to persons who receive calls in

        violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

     19. According to findings of the FCC, the agency vested by Congress with authority to

        issue regulations implementing the TCPA, automated or prerecorded telephone calls

        are a greater nuisance and invasion of privacy than live solicitation calls and can be

        costly and inconvenient.

     20. The FCC also recognizes that wireless customers are charged for incoming calls

        whether they pay in advance or a ter the minutes are used. In re Rules and

        Reg lations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

        14115 165 (2003).

     21. The FCC requires “prior express written consent” for all autodialed or prerecorded

        telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

        consumer s written consent to receive telemarketing robocalls must be signed and be

        sufficient to show that the consumer: (1) received clear and conspicuous disclosure

        of the consequences of providing the requested consent, i.e., that the consumer will

        receive future calls that deliver prerecorded messages by or on behalf of a specific

        seller; and (2) having received this information, agrees unambiguously to receive

        such calls at a telephone number the consumer designates. In addition, the written

        agreement must be obtained without requiring, directly or indirectly, that the

        agreement be executed as a condition of purchasing any good or service.


     1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
     (codifying a June 26, 2003 FCC order).
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     22. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

        1991, 27 FCC Red. 1830, 1844 If 33 (2012) (footnote and inte al quotation marks

        omitted). FCC regulations generally establish that the party on whose behalf a

        solicitation is made bears ultimate responsibility for any violations. In the Matter of

        Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC

        Red. 12391, 12397 f 13 (1995).

     23. The FCC confirmed this principle in 2013, when it explained that “a seller ... may be

        held vicariously liable under federal common law principles of agency for violations

        of either section 227(b) or section 227(c) that are committed by third-party

        telemarketers. In the Matter of the Joint Petition Filed by Dish NetM ork, LLC, 28

        FCC Red. 6574, 6574 1 (2013).

     24. Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

        F.3d 946, 951 -52 (9th Cir. 2009).

     25. A corporate officer involved in the telemarketing at issue may be personally liable

        under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-


        10010, 2013 U.S. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[MJany

        courts have held that corporate actors can be individually liable for violating the

        TCPA where they had direct, personal participation in or personally authorized the

        conduct found to have violated the statute.” (internal quotation marks omitted));

        Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415 - 16 (D. Md. 2011) ( If

        an individual acting on behalf of a corporation could avoid individual liability, the

        TCPA would lose much of its force.”).

                         The Texas Business and Commerce Code 305.053
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     26. The Texas Business and Commerce code has an analogus portion that is related to the

         TCPA and was violated in this case.

     27. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

         subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

         damages.

                                     FACTUAL ALLEGATIONS

     28. Rachel with Card Services is the bane of the existance of many consumers. These are

         calls long since prosecuted by the FTC that make fraudulent, misleading, false

         promises and exaggerated claims to consumers. These scams have taken place for

         years and continue to this day. Jeff Lakes is the ring leader of one of these scam

         operations and has directed this scam to continue in the face of consumer complaints

         for years.

             Jeff Lakes and Ramsey Services, LLC aka Ramsey Debt Relief, Chandler

              Construction, LLC and National Consolidated Services, LLC calls to the

                                                 Plaintiff

      29. Mr. Cunningham received multiple calls from a variety of spoofed caller ID s that

         contained a pre-recorded message and were initiated using an automated telephone

         dialing system. The calls were on behalf of Jeff Lakes, Ramsey Debt Relief, LLC, aka

         Ramsey Services, LLC, National Consolidated Services, LLC, Chandler

         Construction, LLC. The calls had a delay of 3-4 seconds of dead air before the pre¬

         recorded message began indicating the calls were initiated using an ATDS. The

         Plaintiff recieved calls directly from the corporations owned by Jeff Lakes and on

         behalf of these corporations by 3rd party telemarketers for both direct and vicarious
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         liability in this case.

     30. Starting in 2016, the Plaintiff recieved multiple calls from multiple spoofed and non¬

         working caller ID s all designed to trick consumers into picking up the phone by

         using false, misleading, and fraudulent caller ID’s. These calls were not related to an

         emergency purpose or any

     31. This is Lisa Storm calling in reference of all your Visa and Master Credit cards.

         Congratulations. Yo have been qualifiedfrom Experian to get relief from your

        payments. Please press 1 to get relief This call was from 615-331-7782 to 615-331-

        7262 on 10/2/2018.

     32. The 7782 number is a non-working number and was picked specifically because it is

        very similar to the Plaintiffs actual phone number of 7262 and is called

          Neighborhood spoofing designed to trick consumers into picking up the call as it

        appears to be a local call. This call contained a pre-recorded message after a 3-4

        second pause of dead air. Upon further conversation with the representative who had

        a thick foreign accent and sounded as if he was calling from overseas, the Plaintiff

        was transferred live to a verification rep and then finally to an agent who stated he

        was with Ramsey Debt relief.

     33. Interestingly enough, when the Plaintiff spoke with the “verification” rep, who

        sounded as if they were a native English speaker from the USA, and the verifier

        recorded a call and claimed their number was 888-353-3950, which is a lie as it is a

        non-working number and stated that there was a one time processing fee of $695 and

        stated that they are a 3rd party company that works with all major lenders and is not

        affiliated with the banks and are not with Visa or Mastercard or the agent that
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        transferred the call to them walking back their previous claims of being with Visa and

        Mastercard and Experian.

     34. The Plaintiff called and spoke with Jeff Lakes on October 2nd, 2018 regarding the

        illegal telemarketing calls being placed to him and even played one of the call

        recordings for Jeff Lakes and emailed the application for services with Ramsey Debt

        Relief. Jeff admitted that he paid for telemarketing activities and claimed to work

        with multiple marketers. Jeff even stated that I hate those calls in reference to

        automated robo calls.

     35. Despite this convesation directly with Jeff Lakes and Jeff Lakes knowing full well

        that dialing 615-331-7262 would reach the Plaintiffs cell phone in Plano, Texas, on

        October 5, 2018, the Plaintiff recieved another call pitching debt relief services by

        Jeff Lakes which was initiated using an automated telephone dialing system and

        contained a pre-recorded message. The message stated:

     36. Hi this is Alice from Visa card services calling abo t your credit card acco nt. It

        appears that you are now eligible for a significantly lower interest rate on your

        account, however, if you do not respond your card will be cancelled, so please press

        1 now to be transferred to a live representative who can assist you in ecuring your

        lower interest rate. Again to talk to a representative, press 1 now


     37. This call was from 800-945-2000, which is spoofed and is actually the caller ID for

        Chase Credit card services indicating an intent to mislead consumers into believing

        that they were receiving a call from Chase credit cards when in reality it was a debt

        relief company. The pre-recorded message was designed to create a false sense of

        urgency by indicating that the consumer s credit card would be closed if they didn’t
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        press 1.

     38. The Plaintiff recieved calls on 10/3/2018 and 10/4/2018 among other dates from 800-

        945-2000 which were transfered to Ramsey Debt Relief once again even after

        speaking directly with Jeff Lakes to complain about the illegal telemarketing calls and

        Jeff Lakes himself admitted that I hate those calls referring to the Rachel with

        card services type debt relief calls.

     39. The Plaintiff has documented at least 19 calls from 800-945-2000 to his cell phone

        615-331-7262 and has an additional 5 calls from 615-331-7782, 323-329-5648 three

        times, and 31008 for a total of not less than 27 calls by or on behalf of Jeff Lakes and

        Ramsey Debt Relief/Ramsey Services.

     40. Jeff Lakes knew who the Plaintiff was and that the Plaintiff was receiving unwanted

        calls. The Plaintiff emailed Jeff Lakes a copy of the contract which contained the

        Plaintiff s cell phone number at issue, 615-331-7262 to Jeff Lakes who replied that he

        was researching the issue and would get back to the Plaintiff, but the Plaintiff never

        heard back from Jeff Lakes( See Ex A and Ex B).

     41. Even a ter filing suit, serving Jeff Lakes personally with a copy of the lawsuit and a

        summons, and the defendants hiring an attorney who appeared in the case, Jeff Lakes

        directed another call to the Plaintiff on November 21, 2018. The Plaintiff spoke with

        the overseas agent inquiring who the company was that he was connected to, and the

        agent stated it was Ramsey Debt Relief.

     42. A representative of Ramsey Debt Relief stated that the corporation was actually

        incorporated in Nevada when asked by the Plaintiff and stated that attorney Cori L.

        Marx whose name and signature appears on the application document was licensed
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        out of Arizona, but later claimed it was Colorado.

     43. Each and every call placed on behalf of and for the benefit of Cori L. Marx. She was

        paid by Jeff Lakes to assist in the debt relief program.

     44. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

        monthly allotment.

     45. Mr. Cunningham has limited data storage capacity on his cellular telephone.

        Incoming calls from Jeff Lakes and his related entities consumed part of this capacity.

     46. No emergency necessitated the calls

     47. Each call was sent by an ATDS.

            Ramsey Services LLC aka Ramsey Debt Reliefs and Willful Violations of

                                      Telemarketing Regulations

     48. Mr. Cunningham asked for an internal do-not-call policy

     49. Jeff Lakes knowingly violated the TCPA by initiating automated calls with pre¬

        recorded messages to the Plaintiff.

     50. Jeff Lakes never sent Mr. Cunningham any do-not-call policy.

     51. On infonnation and belief, Jeff Lakes, National Consolidated Services, LLC, Ramsey

        Services, LLC, and did not have a written do-not-call policy while it was sending Mr.

        Cunningham text messages.

     52. On information and belief, Jeff Lakes did not train its agents engaged in

        telemarketing on the existence and use of any do-not-call list.

     53. Jeff Lakes calls did not provide Mr. Cunningham with the name of the individual

        caller or the name of the person or entity on whose behalf the call was being made.

        Jeff Lakes Control over Ramsey Debt Relief, LLC, aka Ramsey Services, LLC,
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         National Consolidated Services, LLC, Chandler Construction, LLC,, Including

         its Illegal Robocalling and Telemarketing

      54. At all times relevant to the claims alleged herein, Jeff Lakes was the sole corporate

         officer and executive in charge of Ramsey Debt Relief, LLC, aka Ramsey Services,

         LLC, National Consolidated Services, LLC, Chandler Construction, LLC. Each and

         every call was placed on behalf of the corporate entites owned by Jeff Lakes. Jeff

         Lakes co-mingles funds and uses these entities as alter egos of each other.

      55. Jeff Lakes is Ramsey Debt Relief, LLC, aka Ramsey Services, LLC, National

         Consolidated Services, LLC, Chandler Construction, LLC, incorporator.

      56. Jeff Lakes was aware that Ramsey Debt Relief, LLC, aka Ramsey Services, LLC,

         National Consolidated Services, LLC, Chandler Construction, LLC, was sending

         automated, telemarketing text messages en masse to people, including Plaintiff, who

          had not requested to be contacted by Ramsey Debt Relief, LLC, aka Ramsey

          Services, LLC, National Consolidated Services, LLC, Chandler Construction, LLC.

      57. As Ramsey Debt Relief, LLC, aka Ramsey Services, LLC, National Consolidated

          Services, LLC, Chandler Construction, LLC, senior-most executive, Jeff Lakes had

          the power to stop these spam campaigns.

      58. As Ramsey Debt Relief, LLC, aka Ramsey Services, LLC, National Consolidated

          Services, LLC, Chandler Construction, LLC s, senior-most executive, Jeff Lakes had

          the power to fire the managers and employees taking part of the day-to-day operations

          of these illegal robocalling operations. Despite being sued by the Plaintiff for illegal

          telemarketing, Jeff Lakes continued to use the services of the exact same

          telemarketers, which resulted in the Plaintiff being called additional times on his
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         behalf and at his direction.

      59. Instead, Jeff Lakes allowed the calls to continue and the responsible managers to

         keep their jobs despite his knowledge of frequent do-not-call complaints from

         recipients of these messages, including the Plaintiff.

                         The Plaintiffs cell phone is a residential number

      60. The text messages were to the Plaintiff s cellular phonne 615-331-7262, which is the

         Plaintiffs personal cell phone that he uses for personal, family, and household use.

         The Plaintiff maintains no landline phones at his residence and has not done so for at

         least 10 years and primarily relies on cellular phones to communicate with friends and

         family. The Plaintiff also uses his cell phone for navigation purposes, sending and

         receiving emails, timing food when cooking, and sending and receiving text

         messages. The Plaintiff further has his cell phone registered in his personal name,

         pays the cell phone from his personal accounts, and the phone is not primarily used

         for any business purpose.

                  Violations of the Texas Business and Commerce Code 305.053

      61. The actions of Jeff Lakes and his corporations Ramsey Debt Relief, LLC, aka

         Ramsey Services, LLC, National Consolidated Services, LLC, Chandler

         Construction, LLC, violated the Texas Business and Commerce Code 305.053 by

         placing automated calls to a cell phone which violate 47 USC 227(b). The calls by

         Jeff Lakes and his entities violated Texas law by placing calls with a pre-recorded

         message to a cell phone which violate 47 USC 227(c)(5) and 47 USC 227(d) and 47

         USC 227(d)(3) and 47 USC 227(e).

      62. The calls by Jeff Lakes violated Texas law by spoofing the caller ID s per 47 USC
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        227(e) which in turn violates the Texas statute.


                                  I. FIRST CLAIM FOR RELIEF

         (Non-Emergency Roboeails to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                     (Against All Defendants)

             1. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

            2. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

     non-emergency telemarketing roboeails to Mr. Cunningham s cellular telephone number

     without his prior express written consent.

            3. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation. 47 U.S.C. § 227(b)(3)(B).

            4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

     each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

            5. Mr. Cunningham also seeks a per anent injunction prohibiting

     Defendants and their affiliates and agents from making non-emergency telemarketing

     roboeails to cellular telephone numbers without the prior express written consent of the

     called party.
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                                 n. SECOND CLAIM FOR RELIEF

            (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                      (Against All Defendants)

             6. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

             7. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of FCC regulations by making telemarketing

     solicitations despite lacking:

                    a. a written policy, available upon demand, for maintaining a do-not-

     call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                    b. training for the individuals involved in the telemarketing on the

     existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                    c. in the solicitations, the name of the individual caller and the name

     of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

     64.1200(d)(4).4

            8. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation. 47 U.S.C. § 227(c)(5)(B).

            9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

     each such knowing or willful violation. 47 U.S.C. § 227(c)(5).




     2 See id. at 425 (codifying a June 26, 2003 FCC order).
     3 See id. at 425 (codifying a June 26, 2003 FCC order).
     4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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             10. Mr. Cunningham also seeks a permanent injunction prohibiting

     Defendants and their affiliates and agents from making telemarketing solicitations until

     and unless they (1) implement a do-not-call list and training thereon and (2) include the

     name of the individual caller and AFS s name in the solicitations.


             in. THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                        Commerce Code 305.053

             11. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

             12. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of the Te as Business and Commerce Code

     305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

     cellular telephone number without his prior express written consent in violation of 47

     USC 227 et seq. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and 47

     USC 227(e) by using an ATDS that does not comply with the technical and procedural

     standards under this subsection.

             13. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation.Texas Business and Commerce Code 305.053(b)

            14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

     each such knowing or willful violation. Texas Business and Commerce Code

     305.053(c).
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                                     IV. PRAYER FOR RELIEF

              WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

     Defendant Jeff Lakes, Cori L Marx, Ramsey Debt Relief, LLC, aka Ramsey Services,

     LLC, National Consolidated Services, LLC, Chandler Construction, LLC, jointly and

     severally as follows:

              A. Leave to amend this Complaint to name additional DOESs as they are

     identified and to conform to the evidence presented at trial;

              B. A declaration that actions complained of herein by Defendants violate the

     TCPA and Texas state law;

              C. An injunction enjoining Defendants and their affiliates and agents from

     engaging in the unlawful conduct set forth herein;

              D. An award of $3000 per call in statutory damages arising from the TCPA

     intentional violations jointly and severally against the corporation and individual for 30

     calls.


              E. An award of $ 1,500 in statutory damages arising from violations of the

     Texas Business and Commerce code 305.053

              F. An award to Mr. Cunningham of damages, as allowed by law under the

     TCPA;

              G. An award to Mr. Cunningham of interest, costs and attorneys fees, as

     allowed by law and equity

              H. Such further relief as the Court deems necessary, just, and proper.
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     Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075


     November 30, 2018.
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                         UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TEXAS


      CRAIG CUNNINGHAM,                                §
      Plaintiff,                                       §
                                                       §
      V.                                               §
                                                       § Civil Case No. 4:18-cv-00747-ALM-
      Jeff Lakes, Ramsey Debt Relief, LLC, aka         CAN
      Ramsey Services, LLC, National                   §
      Consolidated Services, LLC, Chandler             §
      Construction, LLC, Cori L. Marx                  §
                                                       §
      Defendant




                                   Plaintiffs Certificate of Service


      I hereby certif a true copy was sent to the defendants in this case.




      3000 Custer Road, ste 270-206, Plano, Tx 75075


      11/30/3018




                         UNITED STATES DISTRICT COURT FOR THE
